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 1                         UNITED STATES DISTRICT COURT
 2                            DISTRICT OF PUERTO RICO

 3   UNITED STATES OF AMERICA,

 4           Plaintiff,
                                                 Criminal No. 05-020 (JAF)
 5           v.

 6   ANGEL BEAUCHAMP-LOPEZ (22),

 7           Defendant.



 8                                     O R D E R
 9
10        Upon review of the request for authorization to allow Defendant

11   Angel    Beauchamp-López    to   visit     his   daughter’s     wake   and,   upon

12   consideration of the recommendation by Senior Special Agent Juan

13   Mojica, the court GRANTS the relief sought and, as a consequence,

14   ORDERS the United States Marshal Service to arrange a visit by

15   Defendant to his daughter’s wake or burial ceremony. Any necessary

16   arrangements shall be coordinated with Mr. Rafael Rosado, Manager of

17   Funeraria Alvarez Memorial, located at Road #167, Bayamón, Puerto

18   Rico, telephone numbers (787) 785-3400; (787) 785-0221. Should the

19   Marshals Service understand there is a genuine issue pertaining to

20   security, the court should be consulted before proceeding.

21           The Clerk shall notify this Order immediately to all parties

22   concerned.

23           IT IS SO ORDERED.

24           San Juan, Puerto Rico, this 11th day of January, 2006.

25                                            S/José Antonio Fusté
26                                             JOSE ANTONIO FUSTE
27                                         Chief U. S. District Judge
